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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                December 24, 2021
                   IN THE UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                 )
 EVERETT DE’ANDRE ARNOLD, et al.,                )
                             Plaintiffs,         )   CIVIL ACTION NO. 4:20-CV-
                                                 )
         v.                                      )
 BARBERS HILL INDEPENDENT                        )
                                                 )
 SCHOOL DISTRICT, et al.,                        )
                       Defendants.               )

                           AMENDED DOCKET CONTROL ORDER

       Plaintiffs and Defendant request the following dates control this case. If no date is
given below, the item is governed by the Federal Rules of Civil Procedure.

      This Amended Docket Control Order incorporates by reference the prior Docket
Control Order (Dkt. 140) for the deadlines not included below.

                                      DEADLINES


1.     March 25, 2022              COMPLETION OF DISCOVERY.                       Written
                                   discovery requests are not timely if they are filed so
                                   close to this deadline that the recipient would not be
                                   required under the Federal Rules of Civil Procedure to
                                   respond until after the deadline.

2.     April 27, 2022              DISPOSITIVE MOTIONS The party seeking
                                   dispositive relief will file a motion and supporting
                                   memorandum by this date. Response is due May 27,
                                   2022. Reply in support is due June 10, 2022.

3.     April 22, 2022              EXPERT            CHALLENGES               DEADLINE
                                   (Daubert/Kumho motions) The party seeking to
                                   challenge an expert witness’s qualifications or findings
                                   will file a motion and supporting memorandum by this
                                   date. Response is due May 23, 2022. Reply in support
                                   is due June 6, 2022.



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4.    July 29, 2022           EXCHANGE OF            EXHIBIT AND WITNESS
                              LISTS.

5.    August 12, 2022         EXHIBIT AND WITNESS LIST OBJECTIONS.

6.    August 26, 2022         MOTIONS IN LIMINE The party seeking to
                              challenge a motion in limine shall file its motion and
                              supporting memorandum by this date. Response is due
                              September , 2022.

7.    August 26, 2022         JOINT PRETRIAL ORDER Plaintiff is responsible
                              for timely filing the complete joint pretrial order. All
                              information is to comply with the disclosure
                              requirements of Fed. R. Civ. P. 26(a)(3). All parties
                              are directed to read the Court’s Procedures regarding
                              required trial documents and procedures.

8.    6HSWHPEHU       DOCKET CALL. Other than as set out in the Court’s
      DWSP            Procedures, no pleading or document filed within
                              seven days of docket call will be considered by the
                              Court. Any pending motions may be ruled on at
                              docket call, the case will be set for trial, and further
                              pretrial orders may be issued.


9.    October/November 2022   JURY TRIAL. Case is subject to being called to trial
                              on short notice during this month.

                              Estimated Trial Time: 10 days.



            Dec. 22
SIGNED on ___________,           Houston
                       2021 at ___________, Texas.


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                                                ___________________________________
                                                          _ ______________________
                                                GEORGE CC. HANKS
                                                           HANKS, JR
                                                                   JR.
                                                UNITED STATES DISTRICT JUDGE




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